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                                               APPENDIX A
 1
                                                           Plaintiff’s
 2   Case                                    Number
                                                           Counsel           Defendants’ Cousnel
     Aspen Lodging Group LLC et al v.
 3                                           20-1038
     Affiliated FM Insurance Co.                           Ball Janik LLP    Bullivant Houser Bailey
                                                           Keller Rohrback
 4   Bath v. Travelers Casualty Insurance
                                             20-5489
                                                           LLP; Gordon
     Company of America                                    Tilden Thomas &
 5                                                         Cordell           Bullivant Houser Bailey
     Caballero v. Massachusetts Bay                        Keller Rohrback   Bullivant Houser Bailey; Wiggin
                                             20-5437
 6   Insurance Co.                                         LLP               & Dana LLP
     Cascadia Dental Specialists Inc. v.                   Keller Rohrback   Alston & Bird LLP; Baker
 7                                           20-732
     American Fire and Casualty Co.                        LLP               Hostetler LLP
     Chorak v. Hartford Casualty Insurance                 Keller Rohrback
 8                                           20-627
     Co.                                                   LLP               Forsberg & Umlauf
                                                           Miller Nash
     ES Restaurant Group Inc. v. Fireman's
 9                                           20-1193       Graham & Dunn
     Fund Insurance Company
                                                           LLP               DLA Piper LLP
10   Fox v. Travelers Casualty Insurance
                                             20-598
                                                           Keller Rohrback   Bullivant Houser Bailey;
     Co. of America                                        LLP               Robinson & Cole LLP
11   Germack v. Dentists Insurance Co.       20-661
                                                           Keller Rohrback
                                                           LLP LLP           Lether Law Group
12   Glow Medispa LLC v. Sentinel                          Keller Rohrback
                                             20-712
     Insurance Co. Ltd.                                    LLP               Forsberg & Umlauf
13   Hirbod H. Rowshan DDS, P.S. v. Ohio                   Keller Rohrback   Alston & Bird LLP; Baker
                                             20-730
     Security Insurance Co.                                LLP               Hostetler LLP
14   Hsue v. Travelers Casualty Insurance                  Keller Rohrback
                                             20-622
     Co. of America                                        LLP               Bullivant Houser Bailey
     J Bells LLC v. Sentinel Insurance Co.
15                                                         Lance Loyd
     Ltd.
                                             20-5820       Attorney at Law   Forsberg & Umlauf
16   Jae Y Hong PLLC et al v.                              Keller Rohrback   Paul Weiss Rifkind Wharton &
                                             20-5556
     Transportation Insurance Co.                          LLP               Garrison; DLA Piper Us LLP
17   Jae Y. Hong DDS PS v. Valley Forge                    Keller Rohrback   Paul Weiss Rifkind Wharton &
                                             20-891
     Insurance Co.                                         LLP               Garrison; DLA Piper Us LLP
18   Jagow v. Aspen American Insurance
                                             20-1205
                                                           Keller Rohrback
     Co.                                                   LLP               Sidley Austin LLP
19   Kara McCulloch DMD MSD PLLC v.
                                             20-809
                                                           Keller Rohrback   Paul Weiss Rifkind Wharton &
     Valley Forge Insurance Co.                            LLP               Garrison; DLA Piper Us LLP
20   Karla Aylen DDS PLLC v. Aspen                         Keller Rohrback
                                             20-717
     American Insurance Co.                                LLP               Sidley Austin LLP
21   Kashner v. Travelers Indemnity Co. of
                                             20-625        Keller Rohrback
     America                                               LLP               Bullivant Houser Bailey
22
     KCJ Studios LLC et al v. Sentinel                     Keller Rohrback
                                             20-1207
23   Insurance Co. Ltd.                                    LLP               Forsberg & Umlauf
                                                           Keller Rohrback   Gordon Thomas Honeywell;
     Kim v. Sentinel Insurance Co. Ltd.      20-657
                                                           LLP               Forsberg & Umlauf
24   La Cocina de Oaxaca LLC v. Tri-State                  Keller Rohrback   Steptoe & Johnson; Bullivant
                                             20-1176
     Insurance Co. of Minnesota                            LLP               Houser Bailey
25                                                         Keller Rohrback
     Lee v. Sentinel Insurance Co. Ltd.      20-5422
                                                           LLP               Forsberg & Umlauf


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     Marler v. Aspen American Insurance                     Keller Rohrback
 1                                            20-616
     Co.                                                    LLP                Sidley Austin LLP
 2   Mikkelson v. Aspen American                            Keller Rohrback
                                              20-5378
     Insurance Company                                      LLP                Sidley Austin LLP
 3   Nguyen v. Travelers Casualty                           Keller Rohrback    Bullivant Houser Bailey;
                                              20-597
     Insurance Co. of America                               LLP                Robinson & Cole
 4   Noskenda Inc v. Valley Forge                           Keller Rohrback    Paul Weiss Rifkind Wharton &
                                              20-854
     Insurance Co.                                          LLP                Garrison; DLA Piper Us LLP
     Pacific Endodontics, P.S. v. Ohio                      Keller Rohrback    Alston & Bird LLP; Baker
 5   Casualty Insurance Co.
                                              20-620
                                                            LLP                Hostetler LLP
                                                            Keller Rohrback    Gordon Thomas Honeywell;
 6   Prato v. Sentinel Insurance Co. Ltd.     20-5402
                                                            LLP                Forsberg & Umlauf
                                                            Miller Nash
 7   Seattle Gymnastics Academy Inc. v.
                                              20-884        Graham & Dunn
     Sentinel Insurance Co. Ltd.
                                                            LLP                Forsberg & Umlauf
 8                                                          Keller Rohrback
     Seattle Symphony Orchestra v.                          LLP; Gordon
 9                                            20-1252
     Hartford Fire Insurance Co.                            Tilden Thomas &
                                                            Cordell
10   Shokofeh Tabaraie DDS PLLC v.                          Ruiz & Smart
     Aspen American Insurance Co.             20-1035       Plaintiff
11                                                          Litigation PLLC    Sidley Austin
                                                            Keller Rohrback
     Stan’s BBQ v Charter Oak                 20-613
12                                                          LLP                Bullivant Houser Bailey
                                                            Ruiz & Smart
     Strelow v. Hartford Casualty Insurance
13                                            20-797        Plaintiff          Steptoe & Johnson; Forsberg &
     Co.
                                                            Litigation PLLC    Umlauf
14                                                          Stein Sudweeks &
                                                            Stein, PLLC;
15   Vancouver Clinic Inc, PS v. Affiliated                 Greenberg
                                              20-5605
     FM Insurance Company                                   Glusker Fields
                                                            Claman &
16
                                                            Machtinger LLP     Bullivant Houser Bailey
     Vita Coffee LLC v. Fireman’s Fund
17   Insurance Co.                            20-1079       Tousley Brain
                                                            Stephens           DLA Piper LLP
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